                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE                          August 22, 2023



 IN RE:                                          )
                                                 )
OBLIGATION OF COUNSEL TO                         )
KEEP COURT APPRISED OF                           )   Administrative Order No. 217
CURRENT CONTACT                                  )   (First Amended)
INFORMATION                                      )
                                                 )


                                            ORDER

       This Order amends and supersedes Administrative Order No. 217 dated June 11, 2021.

Attorneys practicing before the Court are required, absent good cause shown, to register as filing

users of the NextGen CM/ECF system through their individual PACER accounts. Registration

information and instructions can be found on the Court’s website:

https://www.tnmd.uscourts.gov/nextgen-cmecf-registration-information.

       To ensure that counsel keeps the Court apprised of current contact information, every

attorney admitted to practice before this Court, either as a member of the Court’s bar or pro hac

vice, shall update any change of the attorney's name, firm name, mailing address, telephone

number, or e-mail address, within five (5) business days of the change by:

       1.      Filing a notice in all pending cases in which the attorney is counsel of record

advising the Court of any changes, and

       2.      Updating their contact information through the PACER Service Center:

https://pacer.uscourts.gov/. Attorneys must ensure that updates made in PACER are applied to all

pending cases in the Middle District of Tennessee. Instructions regarding how to update contact

information via PACER can be found on the Court’s website: https://tnmd-admin.jdc.ao.dcn/case-

info/cm-ecf-case-info.


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   IT IS SO ORDERED.

                                    FOR THE COURT



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                                    WAVERL/Y D. CRENSHAW, JR.
                                    CHIEF  ITED STATES DIS    CT JUDGE




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